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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in compliance with D.N.J. LBR 9004-2(c)


FAZZIO LAW OFFICES
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Attorneys for Debtor                                     Chapter 13

                                                         CASE NO. 19-23410
IN THE MATTER OF
ANTHONY BIASI                                            Hon. Stacey L.Meisel

Debtor


                                      Notice of Appearance

         PLEASE TAKE NOTICE, that the undersigned hereby appears as Counsel for Anthony

Biasi (“Debtor”) in the above-referenced chapter 13 bankruptcy proceeding, pursuant to

Bankruptcy Rules 2002 and 9010(b), and requests that all notices given or required to be given in

this case, and all papers served or required to be served in this case, be given to and served upon

the undersigned attorneys, or on its behalf, at the addresses set forth below:


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         Jfazzio@fazziolaw.com

PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any subsequent

appearance, pleading, claim, or suit is intended or shall be deemed to waive Anthony Biasi’s (i)
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right to have final orders in non-core matters entered only after de novo review by a higher court;

(ii) right to trial by jury in any proceeding so triable herein or in any case, controversy or

proceeding related hereto; (iii) right to have the reference withdrawn in any matter subject to

mandatory or discretionary withdrawal; (iv) right to enforce any contractual provisions with

respect to arbitration; or (v) other rights, claims, actions, defenses, setoffs, or recoupments to

which Wells Fargo has or may be entitled under agreements, in law, or in equity, all of which

rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.



                                               FAZZIO LAW OFFICES

                                               /s/ John P. Fazzio
                                               JOHN P. FAZZIO, ESQ.


Dated: September 29, 2020
